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10   Attorneys for Defendant
     HUAWEI DEVICE USA, INC.
11

12
                                   UNITED STATES DISTRICT COURT
13
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
14
                                            SAN JOSE DIVISION
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16
     IN RE NEXUS 6P PRODUCTS LIABILITY              Civil Case No.: 5:17-cv-02185-BLF
17   LITIGATION
18                                                  REQUEST OF SIMON J. FRANKEL
                                                    FOR TELEPHONIC APPEARANCE
19                                                  FOR MOTION FOR PRELIMINARY
                                                    APPROVAL OF CLASS
20                                                  SETTLEMENT ACTION AND
                                                    [PROPOSED] ORDER
21
                                                    Date:    May 2, 2019
22                                                  Time:    1:30 p.m.
                                                    Courtroom: 3, 5th Floor
23                                                  Judge:   Hon. Beth Labson Freeman
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     REQUEST FOR TELEPHONIC APPEARANCE FOR MOTION
     FOR PRELIMINARY APPROVAL OF CLASS SETTLEMENT
     ACTION AND [PROPOSED] ORDER
     Civil Case No.: 5:17-cv-02185-BLF
              Case 5:17-cv-02185-BLF Document 199 Filed 04/29/19 Page 2 of 2



 1                 Please take notice that Simon J. Frankel of Covington & Burling LLP respectfully
 2   requests to appear telephonically on behalf of Defendant Huawei Device USA, Inc. (“Huawei”) at the
 3   hearing on Plaintiffs’ Motion for Preliminary Approval of Class Action Settlement currently scheduled
 4   for May 2, 2019, at 1:30 p.m. before the Honorable Beth Labson Freeman.
 5                 Mr. Frankel wishes to participate telephonically in the upcoming motion hearing due to
 6   unavoidable travel obligations in other matters. Lindsey Barnhart of Covington & Burling will attend
 7   the May 2, 2019 hearing in person on behalf of Huawei.
 8   DATED: April 29, 2019                               COVINGTON & BURLING LLP
 9                                                       By: /s/ Simon J. Frankel
10                                                           Simon J. Frankel
11                                                           Attorneys for Defendant
                                                             HUAWEI DEVICE USA, INC.
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14                                                   ORDER

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                   IT IS SO ORDERED that Simon J. Frankel is permitted to appear by telephone at the
16
     May 2, 2019 Status Conference.
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                                                         Hon. Beth Labson Freeman
19                                                       United States District Judge
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      REQUEST FOR TELEPHONIC APPEARANCE FOR MOTION   1
      FOR PRELIMINARY APPROVAL OF CLASS SETTLEMENT
      ACTION AND [PROPOSED] ORDER
      Civil Case No.: 5:17-cv-02185-BLF
